

People v Bernal (2025 NY Slip Op 50743(U))



[*1]


People v Bernal (Gender)


2025 NY Slip Op 50743(U)


Decided on May 12, 2025


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on May 12, 2025
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Tisch, James, JJ.



570045/19

The People of the State of New York, Respondent, 
againstGender Zamora Bernal, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, Bronx County (Bahaati E. Pitt, J.), rendered December 3, 2018, convicting him, upon his plea of guilty, of attempted unlawful surveillance in the second degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Bahaati E. Pitt, J.), rendered December 3, 2018, affirmed.
By pleading guilty, defendant forfeited his claim that the court did not properly convert the felony complaint into a misdemeanor complaint pursuant to CPL § 180.50 (3) (a) (iii) (see People v Hunter, 5 NY3d 750, 751 [2005]; People v Pereira, 78 Misc 3d 130[A], 2023 NY Slip Op 50319[U] [App Term, 1st Dept 2023], lv denied 40 NY3d 930 [2023]), and such claim is, in any event, both unpreserved and without merit. Even were we to accept this claim, the proper remedy would be to remand for further proceedings on the felony complaint (see People v Spooner, 22 Misc 3d 136[A], 2008 NY Slip Op 52664[U] [App Term, 2d Dept, 9th &amp; 10th Jud Dists 2008]), and defendant specifically declines such relief. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: May 12, 2025







